









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
December 14, 2005









&nbsp;

Petition for Writ of Mandamus Denied and Memorandum
Opinion filed December 14, 2005. 

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01041-CV

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&nbsp;

IN RE JOHN BRUCE ROGERS, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On October 13, 2005, relator
filed a petition for writ of mandamus in this court.&nbsp; See Tex.
Gov=t Code Ann. ' 22.221 (Vernon 2005); see also Tex. R. App. P. 52. 

Relator has not established that he is
entitled to mandamus relief.&nbsp;
Accordingly, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed December 14, 2005.

Panel consists of
Justices Fowler, Edelman, and Guzman.





